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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
FIRST MERCURY INSURANCE
COMPANY,

       Plaintiff,

v.                                            Case No. ___________________

GEORGIA COMMUNITY SUPPORT
AND SOLUTIONS, INC., GARMAI
KENNEDY, Individually and as
Surviving Parent of DAVID SCOTT
KOLUBAH, III, and ROGER
KIRSCHENBAUM, Administrator of
the Estate of DAVID SCOTT
KOLUBAH, III,
       Defendants.


                    COMPLAINT FOR DECLARATORY JUDGMENT

      Plaintiff First Mercury Insurance Company (“First Mercury”) shows this

Honorable Court the following:

                                  Nature of Action

      1.     This case is an action for declaratory judgment under Rule 57 of the

Federal Rules of Civil Procedure and 28 U.S.C. § 2201, to declare the rights and

other legal relations surrounding questions of actual controversy that presently exist

between First Mercury and the Defendants, i.e., whether First Mercury owes any
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insurance coverage obligations to the Defendants in connection with claims asserted

by Garmai Kennedy and Roger Kirschenbaum against Georgia Community Support

and Solutions, Inc. (“GCSS”), including those in the lawsuit known as Garmai

Kennedy, Individually and as Surviving Parent of David Scott Kolubah, III and

Roger Kirschenbaum, Administrator of the Estate of David Scott Kolubah, III v.

Georgia Community Support and Solutions, Inc. d/b/a InCommunity, State Court of

DeKalb County, Civil Action No. 22A00209 (“Underlying Lawsuit”).

                            Parties, Jurisdiction, and Venue

      2.        Plaintiff First Mercury is a Delaware corporation with its principal

place of business in New Jersey.

      3.        Defendant GCSS is a Georgia corporation with its principal place of

business in DeKalb County, Georgia.

      4.        Defendant Garmai Kennedy resides and is domiciled in Henry County,

Georgia, is a citizen of Georgia, and intends to remain a citizen of Georgia

indefinitely.

      5.        Defendant Roger Kirschenbaum (“Kirschenbaum”) resides and is

domiciled in Fulton County, Georgia, is a citizen of Georgia, and intends to remain

a citizen of Georgia indefinitely.




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         6.    Kirschenbaum is suing GCSS in the Underlying Lawsuit in his capacity

as the administrator of the Estate of David Scott Kolubah, III (“Kolubah”).

         7.    Immediately prior to his death, Kolubah was domiciled in and was a

resident and citizen of the State of Georgia, without any intent to become a citizen

of or change his residence to any other jurisdiction.

         8.    Defendant GCSS is subject to personal jurisdiction and venue in this

Court.

         9.    Defendant Garmai Kennedy is subject to personal jurisdiction and

venue in this Court.

         10.   Defendant Roger Kirschenbaum is subject to personal jurisdiction and

venue in this Court.

         11.   The Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332.

         12.   Plaintiff is a citizen of a different state than the Defendants.

         13.   The amount in controversy, exclusive of interest and costs, exceeds

$75,000.

         14.   This Court also has jurisdiction pursuant to 28 U.S.C. § 2201, in that

First Mercury is seeking a declaration from this Court regarding the parties’ rights

and obligations with respect to an insurance policy issued by First Mercury.


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                             The Underlying Complaint

      15.     Kennedy and Kirschenbaum filed their Complaint for Damages in the

Underlying Lawsuit on January 19, 2022, naming Georgia Community Support and

Solutions, Inc. d/b/a InCommunity as the defendant.

      16.     A true and accurate copy of that complaint is attached hereto as Exhibit

A.

      17.     The Underlying Lawsuit was filed as a renewal action under OCGA §

9-2-61.

      18.     Kennedy and Kirschenbaum filed a previous action against GCSS and

other defendants in the State Court of DeKalb County, Georgia, on January 6, 2017,

and voluntarily dismissed that lawsuit on January 18, 2022.

      19.     In their January 19, 2022 complaint, Kennedy and Kirschenbaum

alleged that Kolubah had developmental disabilities and autism, that GCSS (a non-

profit company that provides services and support to people with development

disabilities) was responsible for Kolubah’s care, and that Kolubah suffered

mistreatment and abuse at the hands of caregivers appointed by GCSS.

      20.     In their January 19, 2022 complaint, Kennedy and Kirschenbaum also

alleged that Kennedy (Kolubah’s mother) traveled to the home of Hyacinth Gordon

(whom GCSS selected as Kolubah’s caregiver) on August 15, 2014, and demanded


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to see Kolubah; that she found him “lying in anguish;” and that Kolubah “was

severely malnourished, dehydrated, emaciated, and had bruises over various parts of

his body.”

      21.    In their January 19, 2022 complaint, Kennedy and Kirschenbaum also

alleged that Kennedy removed Kolubah from the house and ordered that he be taken

to Gwinnett Medical Center; that, as a result of mistreatment and abuse allegedly

suffered at the hands of GCSS’s appointed caregivers, Kolubah was hospitalized

four separate times; and that Kolubah ultimately developed sepsis and died on

January 13, 2015.

      22.    In their January 19, 2022 complaint, Kennedy and Kirschenbaum also

alleged that Georgia’s Department of Behavioral Health and Developmental

Disabilities opened an investigation “to determine if neglect occurred and if policies,

procedures, and accepted standards of practice were followed;” appointed Jim Moon

to investigate the matter; and that, on October 18, 2014, after completing his

investigation, investigator Jim Moon found and concluded that “[n]eglect is

substantiated against GCSS.”

      23.    In their January 19, 2022 complaint, Kennedy and Kirschenbaum also

alleged that GCSS was negligent and its action and inactions were, in part, the factual

cause of the injuries, harm, pain, suffering, damages, and ultimate death of Kolubah.


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        24.   Kennedy and Kirshenbaum included the following counts in their

January 19, 2022 complaint: Count I – Negligence, Count II – Punitive Damages,

and Count III – Attorneys Fees.

                         Admiral Insurance Company Policy

        25.   Admiral Insurance Company (“Admiral”) issued an insurance policy,

with Policy Number FA000000017-02, to Georgia Community Support & Solutions,

Inc.

        26.   A true and accurate copy of that policy (“Admiral Policy”) is attached

to this Complaint as Exhibit B.

        27.   The Admiral Policy excludes coverage for punitive damages. See, e.g.,

Admiral policy [Ex. B], pp. 26, 33 (§ cc), 42, 44 (§ s).

                 First Mercury Commercial Excess Liability Policy

        28.   First Mercury issued a Commercial Excess Liability Policy, with Policy

Number NY-EX-000003104-02, to Georgia Community Support & Solutions Inc.,

as the Named Insured.

        29.   A true, accurate, and certified copy of that policy (“First Mercury

Policy”) is attached to this complaint as Exhibit C.

        30.   The First Mercury Policy has a policy period of July 1, 2014, to July 1,

2015.


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      31.    The First Mercury Policy includes a First Mercury Lead Excess

Liability Coverage Form, which provides in part:




      32.    The First Mercury Policy’s Schedule of Underlying Insurance identifies

the Admiral Policy, with Policy Number FA000000017-02, effective from July 1,

2014, to July 1, 2015, in addition to an Automobile Liability policy issued by Everest

National Insurance Company.

      33.    The First Mercury Policy includes an Insuring Agreement under

Section I, which provides in part:




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      34.    The First Mercury Policy includes several exclusions, including but not

limited to the following:




                                       ***




      35.    The First Mercury Policy includes an endorsement, adding an Assault

and Battery exclusion to the policy. See First Mercury Policy [Ex. C], pp. 23-24.

      36.    The First Mercury Policy includes the following conditions:




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      37.    The First Mercury Policy defines “event” as “an ‘occurrence,’ offense,

accident, act, or other event, to which the applicable ‘controlling underlying

insurance’ applies.”

      38.    The First Mercury Policy’s conditions further provide:




                                  Notice to GCSS

      39.    In August 2014, Gordon advised GCSS that Kennedy had visited

Kolubah, said that he did not look right, and wanted him to go to the hospital.

      40.    In August 2014, GCSS knew that allegations of malnourishment and

neglect had been made with respect to GCSS’s care provided to Kolubah.

      41.    In August 2014, GCSS knew that a report had been made to the police,

concerning purportedly improper care provided to Kolubah.

      42.    In August 2014, while Kolubah was hospitalized, Kennedy terminated

GCSS’s care of him.

      43.    Lisa Charles was employed by GCSS as a Host Services Manager

throughout August 2014.

      44.    On August 18, 2014, Kennedy informed Lisa Charles that Kolubah was



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malnourished, had bruises on his body, that Kennedy had not been allowed to visit

Kolubah for two months, and that she did not want Kolubah to return to Gordon’s

home.

        45.   After Kolubah was removed from Gordon’s home and taken to the

hospital, Kennedy took Kolubah to live with her rather than returning him to the care

of GCSS.

        46.   In September 3, 2014, GCSS received a letter from attorney Kevin

Toole dated September 3, 2014, stating that his office had accepted representation

of David Kolubah and Garmai Kennedy “with regard to allegations of negligent care

received by David Kolubah” and requesting insurance information.

        47.   A true and accurate copy of that September 3, 2014 letter is attached to

this complaint as Exhibit D.

        48.   That letter included an affidavit signed by Kevin Toole, stating, “I

represent David Kolubah and Garmai Kennedy in connection with a claim for

injuries and damages David sustained in an incident which occurred on or about

August 15, 2014.”

        49.   By September 8, 2014, GCSS provided Admiral with a copy of the

September 3, 2014 letter from attorney Kevin Toole.




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      50.   By November 2014, GCSS was aware that Georgia’s Department of

Behavioral Health and Developmental Disabilities had found neglect on the part of

both Gordon and GCSS with respect to the care of Kolubah.

      51.   In January 2015, GCSS was advised that Kolubah passed away on

January 13, 2015, from complications due to neglect.

      52.   By March 2015, Admiral appointed attorney Wade K. Copeland to

serve as defense counsel for GCSS with respect to the claims of Kennedy related to

Kolubah.

                       Communications with First Mercury

      53.   First Mercury first received notice of the August 2014 event involving

Kolubah on June 17, 2015.

      54.   No person or entity notified First Mercury of any event involving

Kolubah or any related claims until June 17, 2015.

      55.   GCSS has sought coverage from First Mercury for the Underlying

Lawsuit and the claims of Kennedy and Kirschenbaum.

      56.   On July 13, 2015, Crum & Forster (through United States Fire

Insurance Company, the authorized claims administrator for First Mercury) sent a

reservation of rights letter to GCSS, concerning the First Mercury Policy and

coverage, or lack thereof, for the claims related to GCSS’s alleged conduct and


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Kolubah’s alleged resulting injuries.

        57.   A true and accurate copy of the July 13, 2015 reservation of rights letter

is attached hereto as Exhibit E.

        58.   The July 13, 2015 reservation of rights letter was received by GCSS on

July 17, 2015.

        59.   On June 14, 2017, United States Fire Insurance Company (on behalf of

First Mercury) sent a supplemental reservation of rights letter to GCSS.

        60.   A true and accurate copy of the June 14, 2017 reservation of rights letter

is attached hereto as Exhibit F.

        61.   GCSS received the June 14, 2017 reservation of rights letter in June

2017.

                                Declaratory Judgment

        62.   First Mercury is in a position of uncertainty with respect to its rights,

status, and other legal relations as to the First Mercury Policy and its obligations (if

any) with respect to the Defendants and the Underlying Lawsuit.

        63.   The First Mercury Policy does not cover any of the claims made in the

Underlying Lawsuit against GCSS and will not cover any damages awarded therein,

due to the failure of GCSS to comply with the First Mercury Policy’s terms and

conditions with respect to the August 2014 event and the claims related to Kolubah.


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      64.    First Mercury was not notified as soon as practicable of the August

2014 event involving Kolubah.

      65.    GCSS breached the First Mercury Policy’s condition requiring GCSS

see to it that First Mercury receive written notice of any claim brought against it as

soon as practicable.

      66.    GCSS breached the First Mercury Policy’s condition requiring GCSS

to immediately send First Mercury copies of any demands, notices, summonses or

legal papers received in connection with a claim or suit brought against any insured.

      67.    First Mercury is entitled to a declaratory judgment that GCSS is not

covered under the First Mercury Policy for the claims of Kennedy and

Kirschenbaum and the Underlying Lawsuit, because conditions precedent for

coverage under the First Mercury Policy were breached, including the duties to

provide timely notice, and for the other reasons set forth herein or provided in the

First Mercury Policy.

      68.    The First Mercury Policy also does not cover any of the claims made in

the Underlying Lawsuit against GCSS and will not cover any damages awarded

against GCSS therein, because those claims and damages do not qualify for coverage

under the First Mercury Policy’s Insuring Agreements and/or because exclusions in

the First Mercury Policy preclude coverage.


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      69.    First Mercury has no duty to defend or indemnify GCSS with respect

to the Underlying Lawsuit, as the “controlling underlying insurance” has not been

exhausted.

      70.    The First Mercury Policy does not cover the claims of Kennedy and

Kirschenbaum or the Underlying Lawsuit, to the extent they seek to recover damages

for “injury or damage” based upon, related to, arising out of, directly or indirectly

resulting from, in consequence of, or in any way connected to, or in the sequence of

events, involving any actual or alleged “assault” and/or “battery,” as those terms are

defined in the First Mercury Policy.

      71.    The First Mercury Policy’s Assault and Battery Exclusion precludes

coverage for some or all of the claims against GCSS in the Underlying Lawsuit.

      72.    The punitive damages exclusions in the Admiral Policy and the First

Mercury Policy precludes coverage for any punitive damages in the Underlying

Lawsuit.

      73.    First Mercury owes no duty to indemnify GCSS for any award of

punitive damages in the Underlying Lawsuit.

      74.    Other terms and provisions in the First Mercury Policy and the Admiral

Policy may limit or preclude coverage under the First Mercury Policy.

      75.    First Mercury relies upon and reserves its rights to rely upon other


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policy provisions or legal principles discovered during this action that also may limit

or exclude coverage.

      WHEREFORE, Plaintiff First Mercury Insurance Company prays:

      (a)    That each Defendant be required to respond to the allegations set forth

             in this Complaint for Declaratory Judgment;

      (b)    That this Court declare that First Mercury has no duty to defend or

             indemnify the Defendants for the August 2014 event, the claims of

             Kennedy and Kirschenbaum, the Underlying Lawsuit, or any

             judgments or awards in that lawsuit;

      (c)    For such other relief as this Court deems just and proper.


                                       Respectfully submitted,

                                        Bovis, Kyle, Burch & Medlin, LLC

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